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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §                Case No: 2:15-cv-1415-RWS-RSP
                                    §
HEALTHCARE SERVICES                 §
CORPORATION d/b/a BLUE CROSS        §
BLUE SHIELD OF TEXAS, INC.          §
                                    §
      Defendant.                    §
___________________________________ §

  MOTION TO DISMISS DEFENDANT HEALTHCARE SERVICES CORPORATION
   d/b/a BLUE CROSS BLUE SHIELD OF TEXAS, INC. WITHOUT PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Symbology
Innovations, LLC files this Motion to Dismiss Defendant Healthcare Services Corporation d/b/a
Blue Cross Blue Shield of Texas, Inc. (“Defendant”) Without Prejudice. Plaintiff notes that
Defendant has filed neither an answer nor a motion for summary judgment.
       Wherefore, Symbology Innovations, LLC moves this Court to dismiss this action and all
claims by Symbology Innovations, LLC against Defendant without prejudice, with each party to
bear its own costs, attorney’s fees and expenses and request that the Court enter the proposed order
of dismissal submitted herewith.
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Dated: July 5, 2016                            Respectfully submitted,
                                               /s/ Jay Johnson
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                                   CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on July 5,
2016.

                                               /s/ Jay Johnson
                                               Jay Johnson
